                                                                                                                                                 12/06/13 5:11PM
Revised 05/08

                                                              United States Bankruptcy Court
                                                                        Eastern District of Michigan
 In re          James Randall Johnson                                                                         Case No.
                                                                                    Debtor(s)                 Chapter        7


                                                           BANKRUPTCY PETITION COVER SHEET

(The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the petition requiring
information on prior and pending cases, the debtor may refer to this form.)
                                                                                   Part 1
"Companion cases," as defined in L.B.R. 1073-1(b), are cases involving any of the following: (1) The same debtor; (2) A corporation and any
majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general partners; (5) An individual and his or her general
partner; (6) An individual and his or her spouse; or (7) Individuals or entities with any substantial identity of financial interest or assets.
Has a "companion case" to this case ever been filed at any time in this district or any other district? Yes      No X
(If yes, complete Part 2.)
                                                                         Part 2
For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)
                           First Case                              Second Case                             Third Case
 Name on petition
 Relationship to this case
 Case Number
 Chapter
 Date filed
 District
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)
If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                      $
 Proposed legal fee in this case     $
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




                                                        Part 3 - In a Chapter 13 Case Only
The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
    [indicate which]
              Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
              Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.
 /s/ James Randall Johnson                                                                                     /s/ Gregory J. Ostrom
 James Randall Johnson                                                                                         Gregory J. Ostrom P50977
 Debtor                                                              Debtor                                    Debtor's Attorney

 Date:      December 6, 2013                                                                                   Ostrom Law Firm, P.C.
                                                                                                               4901 Towne Centre, Ste. 115
                                                                                                               Saginaw, MI 48604
                                                                                                               (989) 497-1040 Fax: (989)
                                                                                                               393-6000
                                                                                                               ostrom@ostrom.net



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